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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 SHENITA CLEVELAND,                              §
                                                 §
          Plaintiff,                             §
                                                 §
                                                 §            CIVIL CAUSE NO. 3:22-cv-1154
 vs.                                             §
                                                 §
                                                 §
 CITY OF DALLAS, TEXAS, CHIEF                    §
 ULYSHA RENEÉ HALL, AND                          §
 JOHN DOE POLICE OFFICERS 1-50                   §
                                                 §
          Defendants.                            §


                        PLAINTIFF’S ORIGINAL COMPLAINT & JURY DEMAND


         Plaintiff Shenita Cleveland brings this civil action against the City of Dallas, Texas, a

political subdivision, Chief Ulysha Reneé Hall in her individual capacity, and John Doe Police

Officers 1–50 in their individual capacities.

                                     I.      INTRODUCTION

         1.      In the wake of the brutal and unjustified May 25, 2020 killing of George Floyd by

police officers in Minneapolis, Minnesota, hundreds of thousands of Americans have taken to

public streets and forums to protest police brutality and racial inequality. Dallas has been no

exception, with peaceful protests occurring all across the city every single day since May 29,

2020 (collectively referred to as the “2020 Protests”). Undeterred by the fact that police

officers’ use of excessive force is the very subject of these demonstrations, City of Dallas Police

Department (“Dallas Police” or “DPD”) officers have repeatedly used extreme and lethal force

against these crowds over the past thirteen days, targeting peaceful, non-threatening protesters

and bystanders with tear gas, smoke bombs, flash-bangs, Pepper Balls, mace, and what are known
PLAINTIFFS’ ORIGINAL COMPLAINT & JURY DEMAND                                                  1
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as “kinetic impact projectiles,” or “KIPs.” And without regard to the ongoing global pandemic

involving respiratory disease COVID-19, police have tear-gassed and smoke-bombed protesters,

many of whom may have already been infected with Covid-19, making them all the more likely to

suffer simply because they exercised their First Amendment rights. This is perhaps made most

painfully evident by that fact that George Floyd was posthumously diagnosed by the medical

examiner with coronavirus.

       2.      Kinetic impact projectiles, which include so-called “rubber bullets” or “sponge

bullets,” are often used by American police forces to control crowds. The manufacturers,

distributors, and sellers of these projectiles—and the police departments that use them against

their own citizens—praise these bullets as being “nonlethal” or “less lethal.” They are not. In

fact, these KIPs kill approximately three percent of all people they strike.

       3.      Plaintiff Shenita Cleveland is a Black American and resident of Texas. This week,

Plaintiff peaceably attempted to exercise her First Amendment right by participating in the 2020

Protests for reforming policing tactics and resolving racial injustice in Dallas. And in doing so,

Plaintiff became victim of the very same unjustified and horrific police brutality she was

demonstrating against. Specifically, Plaintiff was very seriously injured when Dallas Police

officers, unprovoked, shot her with so-called “less lethal” rubber or sponge bullet KIPs. Over the

course of three days in Dallas, Plaintiff’s toe was broken and she also sustained a very serious

injury to her thigh and ankles. Plaintiff was left injured and handcuffed in the middle of a street

for several hours while suffering from a broken toe and other injuries to her leg. Many other

people were also severely injured by these “less lethal” bullets in Dallas this week, including a

26-year-old Brandon Saenz who permanently lost his left eye and a young woman who was shot

in the forehead while walking home from a grocery store.


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        4.      This is a civil action for monetary relief for injuries Plaintiff sustained as a result

of the acts and omissions of Defendants the City of Dallas, Chief of Police Ulysha Reneé Hall,

and John Doe Police Officers 1-50. These Defendants, both individually and collectively, were

responsible for the excessive use of force against Plaintiff and her physical injuries and

constitutional violations of their First, Fourth, and Fourteenth Amendments. These injuries are

the direct result of official policies of the City and failures by the City and Chief Hall to

implement and enforce policies and standards that ensure Dallas Police officers know and are

trained in the constitutional limits of force against civilians, particularly those exercising their

First Amendment rights.

        5.      In addition to this action for monetary relief, Plaintiff is also seeking in this

lawsuit an injunction against Defendants to enjoin them from any future use of tear gas, other

chemical agents, and rubber or sponge bullets KIPs in the future.

                                          II.     PARTIES

        6.      Plaintiff Shenita Cleveland is an individual resident of Cedar Hill, Texas and an

African American woman.

        7.      Defendant the City of Dallas, Texas is a political subdivision of the State of Texas

and operates and controls the Dallas Police Department. Defendant the City of Dallas, Texas can

be served with process by serving the City Attorney Christopher J. Caso and Executive Assistant

City Attorney Tatia R. Wilson, at the Dallas City Attorney’s Office, 1500 Marilla St., 7DN,

Dallas, Texas 75201. Executive Assistant City Attorney Wilson has stated that she will accept

service on behalf of the City of Dallas, Texas.

       8.       The Defendant John Doe Police Officers 1–50 are City of Dallas Police Officers.

        9.      Defendant Ulysha Reneé Hall is the Chief of Police of the Dallas Police


PLAINTIFFS’ ORIGINAL COMPLAINT & JURY DEMAND                                                              3
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Department and the supervisor, and policymaker for John Doe police officers at all times relevant

in this complaint. Defendant Chief Hall can be served with process at the Dallas Police

Department Jack Evans Police Headquarters, 1400 S. Lamar Street, Dallas, Texas 75215, and by

serving Executive Assistant City Attorney Tatia R. Wilson, at the Dallas City Attorney’s Office,

1500 Marilla St., 7DN, Dallas, Texas 75201. Executive Assistant City Attorney Wilson has stated

that she coordinate to facilitate Chief Hall’s waiver of service of the summons.

                                    III.     JURISDICTION

       10.     Plaintiff reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       11.     Federal jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331 and

42 U.S.C. § 1983.

       12.     The Court has general personal jurisdiction over Defendants the City of Dallas,

Chief Ulysha Reneé Hall, and John Doe Police Officers 1–50 by virtue of their citizenship and

residence in Dallas County, Texas, as well as their continuous and systematic contacts with the

state of Texas. Defendant the City of Dallas is a municipality incorporated in the State of Texas.

Upon information and belief, Defendants Hall and John Doe Police Officers 1-50 are residents of

the state of Texas. Defendant Hall was the Chief of Police of the Dallas Police Department since

2017 and when the time the action accrued. Defendants John Doe Police Officers 1–50 are police

officers for the Dallas Police Department.

       13.     Furthermore, the Court has specific personal jurisdiction over Defendants the

City of Dallas, Reneé Hall, and John Doe Police Officers 1-50 because Plaintiff’s claims against

them arise out of or relate to a contact between them and the State of Texas. John Does 1-50

used excessive force against Plaintiff during protests in Dallas, Texas, acting on orders and


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policies promulgated by Chief Hall and City of Dallas policymakers. Plaintiff claims against

these Defendants arise from that occurrence and Defendants’ contact in the state of Texas.

                                             IV.     VENUE

            14.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

            15.    Venue in the Northern District of Texas-Dallas Division is proper pursuant to 28

U.S.C. § 1391 and 28 USC § 1367 as the incidents that gave rise to this Complaint occurred in

Dallas, Texas, within the Northern District of Texas, and all Defendants reside within this

district.

                                 V.     CONDITIONS PRECEDENT

            16.    Plaintiffs reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

            17.    All conditions precedent have occurred or have been performed. Fed. R. Civ. P.

9(c).

                                  VI.     STATEMENT OF FACTS

A.          George Floyd’s senseless death at the hands of a Minneapolis police officer again
            ignites nationwide protests against police brutality.

            18.    Plaintiff reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

            19.    On Monday, May 25, 2020, a Black man named George Floyd was murdered by

an officer of the Minneapolis Police Department. The events of Mr. Floyd’s arrest and murder

were captured on video by multiple bystanders as well as individual officers’ body cameras. The

videos depicted Mr. Floyd pinned on the street, face down and increasingly unresponsive, while

Minneapolis police officer Derek Chauvin knelt on Mr. Floyd’s upper back and neck, two officers

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held him down, and another stood by. All four officers were fired by the Minneapolis PD, and

nationwide protests have erupted in response to this police brutality. After days of continual

protesting, Chauvin was charged with third degree murder. The other three Minneapolis police

officers were then charged with aiding and abetting Mr. Floyd’s murder, and Chauvin’s charge

was upgraded to second degree murder after an independent autopsy report confirmed that

Chauvin was the cause of Mr. Floyd’s death.

       20.     Undeterred by the fact that police excessive force is the very subject of these

nationwide demonstrations, videos, photos, and reports of police brutality on massive scales at

these protests have arisen in the past two weeks. Here in Dallas, City of Dallas Police

Department officers have repeatedly used extreme and lethal force against these crowds over the

past eleven days, targeting peaceful, non-threatening protesters with tear gas, smoke bombs,

flash-bangs, Pepper Balls, mace, and ammunition that are known as “kinetic impact projectiles,”

or “KIPs.” And even amid a pandemic respiratory disease, police have tear-gassed and smoke-

bombed protesters, many of whom may have already been infected with Covid-19, making them

more likely to suffer simply because they exercised their First Amendment rights.




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    Photo, Richard Grant, depicting police officers aiming a riot-control device towards protesters in Long
                                              Beach, California.1

          21.     Kinetic impact projectiles, which include so-called “rubber bullets” or “sponge

bullets,” are often used by American police forces to control crowds. The manufacturers,

distributors, and sellers of these projectiles—and the police departments that use them against

their own citizens—praise these bullets as being “nonlethal” or “less lethal.” They are not. In

fact, the fatality, morbidity, and significant risks of injuries from KIPs have been well

documented. Regardless, in cities across the country, including Dallas, police departments have




1
 Richard Grant, @RichardGrant88, TWITTER (June 1, 2020, 1:28 p.m.),
https://twitter.com/richardgrant88/status/1267523353289474048?s=20.


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attempted to quell participation in the 2020 Protests by firing KIPs into crowds, even though five

decades of evidence shows such weapons can disable, disfigure, and even kill.2

         22.      For instance, free-lance photographer Linda Tirado was shot in the eye with a

“rubber bullet” in Minneapolis. “I was aiming my next shot, put my camera down for a second,

and then my face exploded,” Tirado told The New York Times after she was released from the

hospital. “I immediately felt blood and was screaming, ‘I’m press! I’m press!’”3 Tirado, a career

photojournalist, is now permanently blinded in one eye.4




          Photo, Linda Tirado, depicting Ms. Tirado’s injuries in Minneapolis (May 30, 2020).5
2
  Liz Szabo, Police using rubber bullets on protestors that can blind, maim or kill, CNN.COM (June 3, 2020 at 3:54 a.m.),
https://www.cnn.com/2020/06/03/health/rubber-bullet-effects-kaiser-partner/index.html; Rohini J. Haar, Vincent
Iacopino, Nikhil Ranadive, Madhavi Dandu, Sheri D. Weiser, Abstract: Death, Injury and Disability from Kinetic
Impact Projectiles in Crowd-Control Settings: a Systematic Review (Dec. 5, 2017),
https://bmjopen.bmj.com/content/7/12/e018154.
3
  Frances Robles, A Reporter’s Cry on Live TV: ‘I’m Getting Shot! I’m Getting Shot!’, NEW YORK TIMES.COM (May
30, 2020, last updated June 4, 2020), https://www.nytimes.com/2020/05/30/us/minneapolis-protests-press.html.
4
  Linda Tirado, Police Blinded Me in One Eye. I Can Still See Why My Country’s on Fire, THE NEW REPUBLIC (June 4,
2020), https://newrepublic.com/article/158001/police-blinded-one-eye-can-still-see-countrys-fire.
5
  See Linda Tirado, @killermartinis, Twitter (May 30, 2020, 1:32 a.m.),
https://twitter.com/KillerMartinis/status/1266618525600399361?s=20.


PLAINTIFFS’ ORIGINAL COMPLAINT & JURY DEMAND                                                                            8
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         23.      In Louisville, Kentucky, a television reporter was hit by a pepper ball on live

television by an officer who appeared to be aiming at her, causing her to exclaim on the air: “I’m

getting shot! I’m getting shot!”6 A protesting grandmother who was struck with a rubber bullet

between her eyes in La Mesa, California, landed in the intensive care unit.7 And in Los Angeles,

police shot Marine Corps veteran C.J. Montano in the head with “rubber bullets,” despite him

having his hands in the air.8 In an interview from his hospital bed, Montano confirmed that the

ammunition has caused brain bleeding.9

         24.      In the days since Mr. Floyd’s death, federal courts in several cities, including

Portland, and Denver10 have begun issuing injunctive relief to prohibit police forces from using

so-called “less lethal” crowd control tactics on peaceful protesters, such as rubber bullets and

tear gas.

B.       Dallas Police have responded to current protests with unjustified violence, turning
         peaceful First Amendment protests into massive, dangerous conflicts with civilians.

         25.      The first Dallas protest in the aftermath of Mr. Floyd’s death was on May 29,

2020. On that day and every day since, peaceful protestors have gathered in downtown Dallas to

demonstrate against police brutality and racial inequality. Although a small minority of

individuals present at the scene of the first weekend of protests engaged in destructive activity,


6
  Frances Robles, supra n. 3.
7
  Niala Charles, Grandmother Hit in Head With LMPD ‘Less Lethal’ Projectile Remains in ICU, NBC SAN DIEGO.COM
(May 31, 2020, last updated June 4, 2020, 11:40 a.m.), https://www.nbcsandiego.com/news/local/grandmother-
hit-with-rubber-bullet-remains-in-icu/2337061/?amp& twitter_impression=true.
8
  See @LowkeySinistra, TWITTER (May 31, 2020, 10:03 a.m.),
https://twitter.com/LowkeySinistra/status/1267109420955086848.
9
   See video of C.J.’s Montano’s interview with ABC7, @LowkeySinistra, TWITTER (June 2, 2020),
https://twitter.com/i/status/1268022557061480449.
10
   See Alta Spells and Madeline Holcombe, Temporary restraining order prohibits Denver Police from using chemical
agents or projectiles against peaceful protesters without supervisor approval, CNN.com (June 6, 2020 at 5:37 a.m.),
https://www.cnn.com/2020/06/06/us/denver-police-restraining-order-protesters-chemicals-
projectiles/index.html; Nicole Chavez, Portland is the latest city to suspend the use of tear gas on protesters, CNN.com
(June 6, 2020 at 9:18 p.m.), https://www.cnn.com/2020/06/06/us/portland-police-tear-gas-protests/index.html.


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including property destruction, those individuals’ behavior is profoundly overshadowed by the

thousands of otherwise non-violent, non-threatening demonstrators who have been peaceably

exercising their First Amendment rights. Nonetheless, since the first of the protests, the Dallas

Police Department and other law enforcement departments, at the DPD’s and Chief Hall’s

invitation, have directed extreme riot control tactics towards entire groups of protesters posing

no harm to officers or anyone. Dressed in riot gear and driving armored vehicles, Dallas Police—

like police in other cities recently—are deploying riot control devices against ordinary citizens

and journalists alike, without regard to whether the circumstances justify it, and without regard

or competence for shooting this “less lethal” weaponry safely.




     Photo, Central Track, depicting protesters marching through Downtown Dallas on June 6, 2020.11

          26.    Within the past seven days of demonstrations in Dallas triggered by the murder of

George Floyd, Dallas Police officers have repeatedly used extreme and lethal force against




11
   Central Track, @central_track, TWITTER (June 6, 2020, 6:53 p.m.),
https://twitter.com/Central_Track/status/1269417106203951104?s=20.


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crowds, directly targeting peaceful, non-threatening protestors with KIPs, tear gas, smoke

bombs, and other riot control devices that the City and Chief Hall praise as “less lethal.”12 In

particular, Dallas Police have used a type of KIPs called 40mm eXact iMpact extended range

“sponge” bullets—often referred to as “rubber bullets”—against protestors, bystanders, and

journalists in order to suppress their First Amendment rights, without regard to the

constitutional limits on the use of force:




     Photo, Shane McCormick, depicting sponge/rubber bullet that struck Shane McCormick and tear gas
                    canister fired nearby at protests in Dallas, Texas on May 30, 2020.

          27.     Most upsettingly, Dallas Police have used these weapons to assert and show their

dominance over protesters and the citizens of Dallas seeking to exercise their First Amendment

rights and the journalists and photojournalists who are covering these events. Chief Hall has even

defended her decision to shoot protesters with tear gas—a chemical weapon banned in war13 but



12
   Lauren Silverman, Dallas Police To Try 'Sponge Guns' To Help Avoid Deadly Shootings, KERA News.org (Apr. 28,
2016), https://www.keranews.org/post/dallas-police-try-sponge-guns-help-avoid-deadly-shootings.
13
   Matt Field, Why is tear gas banned in war but not from peaceful protests?, BULLETIN OF THE ATOMIC SCIENTISTS
(June 4, 2020), https://thebulletin.org/2020/06/why-is-tear-gas-banned-in-war-but-not-from-peaceful-protests/.


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nonetheless used against peaceful American civilians by their own governments and in their own

cities—during the 2020 Protests in Dallas. Hundreds of reports of peaceful protesters, journalists

covering protests, and bystanders bleeding and suffering from unwarranted levels of police force

threaten to chill participation in ongoing demonstrations in Dallas. Not even the fact that

protesters may unknowingly be infected with the pandemic respiratory disease Covid-19 has

deterred police from tear gassing and smoke bombing protesters, making it very possible that

many people exercising their First Amendment rights could suffer more severe Covid-19

symptoms aggravated by tear gas and smoke bombs if they become infected or were

asymptomatic to the disease at the time.14

       28.     Countless non-threatening people present at the first weekend of 2020 Protests in

Dallas suffered and continue suffer from injuries at the hands of police brutality. On or about May

31, 2020, Plaintiff Shenita Cleveland, a prominent community civic leader and also a former

Candidate for U.S. Congress to represent the very community in which this incident took place,

went to downtown Dallas to peacefully participate in a walk to show her support for the family

of George Floyd. 15 When she arrived in the 400 block of Harwood Street, Dallas, Texas, Ms.

Cleveland allege the event was entirely peaceful, with approximately 100 to 200 people kneeling,

chanting together and others were walking about the areas. Suddenly, officers appeared and

asked Plaintiff and others to “stop, get on the ground, and don’t run.” Almost simultaneously,

Defendant officers began shooting rubber bullets at Plaintiff and others. Plaintiff was shot by

Defendants at least four times. Plaintiff was shot in the toe, ankle, and both thighs with

projectiles from Defendants’ gun. After being shot, plaintiff was forced to the ground and told

that she was being arrested for breaking the curfew. Plaintiff was handcuffed at approximately

7:40 p.m. and remained handcuffed until 1:55 a.m. the following morning—handcuffed for over

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six hours.

        29.      Once Plaintiff arrived at Dallas Police Department Headquarters Transfer Center,

she was informed by Dallas Police that she would be ticketed and released back to her vehicle.

Plaintiff was coerced into signing paperwork which indicated that Plaintiff would be charged

with a curfew violation which would constitute a Class C Misdemeanor. Later, Plaintiff was

informed that the charges were changed to Violation of State of Emergency which would

constitute a Class B Misdemeanor.

        30.      Eventually, Plaintiff and others arrested were transported to the Dallas County,

Lew Sterrett, Detention Center (“Dallas Jail”). Upon arrival at the Dallas Jail, Plaintiff was

asked a few questions regarding COVID-19, given a mask, temperature taken, and placed in a

holding cell—still handcuffed from the previous night. Again, Plaintiff was not uncuffed until

she was taken upstairs and booked in—approximately 1:55 a.m. on June 1, 2020.




14
  Lisa Song, Tear Gas is Way More Dangerous Than Police Let On—Especially During the Coronavirus Pandemic,
PROPUBLICA.ORG (June 4, 2020, 12:25 p.m.), https://www.propublica.org/article/tear-gas-is-way-more-dangerous-
than-police-let-on-especially-during-the-coronavirus-pandemic.


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                31.

                                                                             15.2




                                Photos of Plaintiff Shenita Cleveland’s injuries15.1,15.2




15.1, 15.2
             Shenita Cleveland Photo (June 2, 2002, 6:01 p.m.)


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                 16.1                                                                                    16.2




              32.

                                           Photos of Plaintiff Shenita Cleveland’s injuries16




16.1,16.2
            Shenita Cleveland Photo (June 2, 2002, 6:01 p.m.)



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       33.     The KIP left Ms. Cleveland with a broken toe, damaged ankle, and permanent

injury to both thighs all which will likely require her to undergo continuous medical care now and

likely in the future. The brutality against Ms. Cleveland has caused her immense physical,

emotional, and mental pain, has disfigured her leg, and left her physically impaired and unable to

work—problems that will continue as she faces ongoing medical treatment, currently and in the

future. Ms. Cleveland remains a dedicated community activist through the fear, anxiety and

emotional distress caused by Defendants remains dedicated to observing and recording the

ongoing protests in a peaceful exercise of her First Amendment rights. If Ms. Cleveland is

physically able, she says she would return to the 2020 Protests in Dallas if she knew that Dallas

Police were prohibited from using the KIPs and other riot control devices and techniques against

non-threatening protestors or in a manner that threatens her constitutional rights.

       34.     The same day—May 30, 2020—a 26-year-old Black man named Brandon Saenz

was walking from the dog park near Dallas’ main library to looking for his friend, when he was

shot in the eye with a sponge or rubber bullet by the Dallas Police. Since being shot by DPD just

over a week ago, Mr. Saenz, like Mr. Doyle, has already had several surgeries to his head and face

to repair the damage caused by the bullet. And tragically, Mr. Saenz has permanently lost his left




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eye as a result of the shooting. Doctors implanted metal plates in his face, screws in his nose, and

a drain tube in his head to prevent blood clotting. Mr. Saenz will need additional medical

treatment if he is ever to fully recover from his catastrophic injuries.17




     Photo still of Brandon Saenz’s injuries taken from WFAA.com video (June 3, 2020, 6:19 p.m.).18

         35.      Then on Monday, June 1, Dallas Police detained approximately 674 protesters on

the Margaret Hunt Hill Bridge (the “Bridge”) at the end of a march from the Frank Crowley

Courts Building downtown that was, by all accounts, entirely peaceful. Video footage taken by

march participants and journalists confirms: the only violence on the bridge came from Dallas

Police officers who fired so-called “less lethal” rubber bullets at nonthreatening, kneeling




17
   Dallas Protester Undergoes Multiple Surgeries After Being Shot With Rubber Bullet, DALLAS POLICE, NBCDFW.COM
(June 4, 2020, 6:42 p.m.), https://www.nbcdfw.com/news/local/dallas-protester-undergoes-multiple-surgeries-
after-being-shot-with-rubber-bullet/2382882/.
18
   Kevin Reece, Man who lost an eye to a projectile during Dallas protests demands answers from police, WFAA.COM (June
3, 2020, 6:19 p.m.), https://www.wfaa.com/article/news/local/man-who-lost-an-eye-to-a-projectile-during-dallas-
protests-demands-answers-from-police/287-8b8c4ca8-84bc-4afa-bfcd-a8fcd926c260.


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demonstrators, along with smoke bombs and tear gas.19 Assessing the incident the next day, Chief

Hall said, “I strongly believe we made the right decisions to deter and disperse the large crowd

on the bridge.”20

         36.      But the Dallas Police did not “deter” or “disperse” the crowd and instead

prevented participants from leaving by blockading them onto the bridge, a technique called

“kettling.”21 When the crowd’s march from downtown reached the intersection with the

roadway leading to the bridge, demonstrators found the westbound ramp onto the bridge was not

blocked by police, unlike other sides of the intersection. Protesters and journalists on the scene

say they were told by officers to “continue moving” but were never warned not to walk up the

ramp.22 Once the last of the marchers were on the bridge, police in riot gear and armored vehicles

enclosed protesters on both ends, trapping them on the bridge over thirty feet above the

ground.23




19
   See Matt Goodman, The Worst City Council Meeting Dallas Has Witnessed in a Decade, DMAGAZINE.COM (June 6,
2020 12:33 p.m.), https://www.dmagazine.com/frontburner/2020/06/the-worst-city-council-meeting-dallas-has-
witnessed-in-a-decade/.
20
   Id.
21
   Silas Allen, Kettling Tactic Dallas Police Used Against Protesters is Steeped in Controversy, Dallas Observer (Jun 8,
2020, 4:00 a.m.), https://www.dallasobserver.com/news/dallas-police-protesters-kettling-margaret-hunt-hill-
bridge-11916828.
22
   Id.; Goodman, supra n. 19.
23
   Tim Cato, I was Detained in Dallas' Bridge Raid. It Never Needed to Happen, DMAGAZINE.COM (June 3, 2020, 3:44
pm),      https://www.dmagazine.com/frontburner/2020/06/i-was-detained-in-dallas-bridge-raid-it-never-needed-to-
happen/.


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           Photo, Dylan Hollingsworth, protesters march south from Riverfront Blvd. past police,
                 turning westward onto Margaret Hunt Hill Bridge, (June 1, 2020)24

37.              Video from the leading edge of the westward march shows that as the group

approached the center of the bridge, a solid line of police clad in riot gear met them at the

bridge’s apex, stopping the march in its tracks.25 Protesters could all be seen frozen with hands

raised, chanting, “Hands up! Don’t shoot!”




               Photos, Dylan Hollingsworth, Margaret Hunt Hill Bridge, (June 1, 2020).26



24
   Pete Freedman, A Few Words on the Ambush at Large Marge, CENTRALTRACK.COM (June 8, 2020),
https://www.centraltrack.com/a-few-words-on-the-ambush-at-large-marge/.
25
   @thatgirljacqs, TWITTER (June 2, 2020), https://twitter.com/thatgirljacqs/status/1268002580602421248, :09.
26
   See Freedman, supra, note 23.


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         38.      As the line of police continued to advance eastward toward them, the group

kneeled.27 But police continued marching toward the kneeling protesters. Over a minute passed

as police closed the gap, coming less than 20 to 30 feet from the group, even as protesters

periodically stood to back up before kneeling again. Suddenly and without warning or any

provocation, police launched canisters directly at protesters, which caught fire before releasing

smoke or tear gas into the crowd.28 At about the same time, tactile weapons could be heard firing,

as the peaceful crowd screamed. As the crowd continued to back away from the smoke and

police, the police line kept marching toward them, shooting projectiles at the retreating

protesters.29 As protesters peacefully attempted to retreat, they could be heard pleading: “This is

a peaceful protest! We’re peaceful!” “. . . Peaceful!!”30




                Photo, Dylan Hollingsworth, Margaret Hunt Hill Bridge, (June 1, 2020).31



27
   @thatgirljacqs, TWITTER, supra note 28, at :15.
28
   Id. at 1:18; Tim Cato, I Was Detained in Dallas’ Bridge Raid. It Never Needed to Happen, D Magazine (June 3, 2020,
3:44 p.m.), https://www.dmagazine.com/frontburner/2020/06/i-was-detained-in-dallas-bridge-raid-it-never-
needed-to-happen/.
29
   @thatgirljacqs, TWITTER, supra note 28, at 122–1:57.
30
   Id. at 1:58–2:09.
31
   See Freedman, supra, note 26.


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                Photo, Dylan Hollingsworth, Margaret Hunt Hill Bridge, (June 1, 2020).32


         39.      Having “seen nonviolent protesters in virtually every state get gassed, shot at,

beaten, and arrested over the weekend,” the members of the march knew not to resist the police

in any way: “Instead, we knelt. We put our hands up. I think we started chanting, ‘Don’t shoot.’

Local reporters attest we had not committed a single act of violence or destruction the entire

night. Moments later, they opened fire on us.”33 Protestors say that, despite Chief Hall’s claim

that police warned protestors that marching onto the bridge would lead to arrest, they never

heard that warning.34 Additionally, to the extent that police officers are sometimes required to

make “split second decisions,” no such quick or life-threatening decisions were required on the

Bridge that night. Indeed, the Dallas Police officers engaged in a protracted, slow, and




32
   See Freedman, supra, note 23.
33
   See Cato, supra, note 22.
34
   Id.


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coordinated march towards the peaceful protesters, who never acted threateningly or

aggressively in any way.




                  Photo, Dylan Hollingsworth, Margaret Hunt Hill Bridge, (June 1, 2020).35

           40.




35
     See Freedman, supra, note 23.


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        41.      These stories are only some of those that continue to emerge from the 2020

Protests in Dallas. Countless other people have been injured by recent police brutality in Dallas,

including one woman not affiliated with protests who was walking out of Whole Foods after

grocery shopping when police shot her in the face with a projectile.36




              Photo, Kevin Krause, of woman injured by projectile in Dallas (May 30, 2020)37

        42.      The conduct of the Dallas Police, particularly toward peaceful protestors, shows

that Dallas Police are present at protests not simply to prevent property damage and keep the

public safe but rather to counter the police brutality protests. Indeed, Dallas Police are dressed

and armed to use violence. It is evident through its militaristic, indiscriminately violent conduct




36
   See Dallas Morning News reporter Kevin Krause, @KevinRKrause, TWITTER (May 30, 2020, 8:04 p.m.),
https://twitter.com/KevinRKrause/status/1266898396339675137/.
37
   Id.

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toward peaceful protesters, bystanders, press—and as widely captured on video—that the Dallas

Police were not there to serve a public safety role, but instead to dominate the protesters.

         43.       Against this backdrop, immediate federal intervention is necessary to enjoin the

unconstitutional use of excessive force to disperse and suppress peaceful protests.

C.       The “rubber” or “sponge” bullets Dallas Police are using can be deadly.

         44.       “Rubber bullets are bullets. Bullets can kill.”38 KIPs—often called “rubber,”

“sponge,” or “foam” bullets—describe a category of ammunition used commonly in crowd-

control settings, including Pepper Balls. Some KIPs are made of hardened foam or plastic, often

containing a rigid or metal core. Others are “beanbag” type rounds, and others may be composed

of rubber or wood.




      Graphic created for Fowers, Steckelberg & Berkowitz, WashingtonPost.com (June 5, 2020).39


38
   Brian Resnick, Rubber bullets can seriously mess you up: The dangers of “nonlethal” police weapons—like rubber bullets,
flash-bang grenades, and tear gas—explained, VOX.COM (June 4, 2020, 9:21 a.m.),
https://www.vox.com/identities/2020/6/3/21279047/rubber-bullets-flash-bang-tear-gas-police-protests; Amanda
Arnold, “Rubber Bullets” Are Not Rubber, THECUT.COM (June 5, 2020),
https://twitter.com/mcgrudis/status/1268591923402436609/photo/1.
39
   Alyssa Fowers, Aaron Steckelberg, & Bonnie Berkowitz , A guide to the less-lethal weapons that law enforcement uses
against protesters, WASHINGTONPOST.COM (June 5, 2020),
https://www.washingtonpost.com/nation/2020/06/05/less-lethal-weapons-protests/?arc404=true.


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         45.       “Regardless of their composition, these projectiles are shot out of guns at speeds

comparable to that of a typical bullet, and when they hit their target, they can maim, blind, or

even kill.”40 Although police departments like Dallas often use KIPs in crowd control because

they are allegedly “nonlethal” or “less lethal,” research shows they cannot be used safely. At

close range, they “can break bones. They can facture skulls. If they hit the face, they can cause

permanent damage and disability.”41 And even at long distances, they “have unpredicted

trajectories, they bounce, and they’re quite indiscriminate.”42 In fact, some police departments

prohibit KIP usage within 165 feet:




      Graphic created for Fowers, Steckelberg & Berkowitz, WashingtonPost.com (June 5, 2020).43

         46.       An independent 2017 study found that these projectiles have caused significant

morbidity and mortality during the past 27 years, much of it from penetrative injuries and head,

neck and torso trauma.44 Given their inherent inaccuracy, potential for misuse and associated

health consequences of severe injury, disability and death, KIPs do not appear to be appropriate




40
   Id.
41
   Id.
42
   Id.
43
   See Fowers, Steckelberg & Berkowitz, supra, note 39.
44
   Haar RJ, Iacopino V, Ranadive N, et al. Death, injury and disability from kinetic impact projectiles in crowd-control
settings: a systematic review. BMJ OPEN (2017), available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5736036/.


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weapons for use in crowd-control settings. There is an urgent need to establish international

guidelines on the use of crowd-control weapons to prevent unnecessary injuries and deaths.

         47.      The findings of the 2017 BMJ study indicate that KIPs have caused serious injury,

disability and death. In the 26 studies selected for analysis, researchers identified 1,984 people

with injuries, 53 of whom died as a result of their injuries. Among those injured, fifteen percent of

the injuries resulted in permanent disability; 3 percent resulted in death.45 Injuries were to the

eyes overwhelmingly (84.2 percent) resulted in blindness. Permanent disabilities and severe

injuries often resulted from strikes to the head and neck (48 of deaths and 87% of permanent

disabilities). These findings indicate that these “less lethal” weapons still readily cause severe

injuries and death.

         48.      Accordingly, organizations like Physicians for Human Rights have concluded

“KIPs in general are not an appropriate weapon for crowd managements and, specifically, for

dispersal purposes. Most cannot be used effectively and safely against crowds. At close ranges,

levels of lethality and patterns of injury of some KIPS become similar to those of live

ammunition. At longer ranges, KIPs are inaccurate and indiscriminate. Some KIPs are lethal in

close range and ineffective at longer distances which make safe use difficult.”46

         49.      That is why law enforcement experts are warning that “[r]ubber bullets should be

used only to control “an extremely dangerous crowd,” said Brian Higgins, the former police

chief of Bergen County, New Jersey.47 “Shooting them into open crowds is reckless and



45
   See Resnick, supra, note 37.
46
   Physicians for Human Rights, Kinetic Impact Projectiles Factsheet (2016) (citing PHYSICIANS FOR HUMAN
RIGHTS & INCLO, Lethal in Disguise: The Health Consequences of Crowd-Control Weapons (March 2016)).
47
   Liz Szabo, Rubber bullets can kill, blind or maim people for life, but authorities continue to use them, USATODAY.COM
(June 3, 2020, 12:04 p.m.), https://www.usatoday.com/story/news/health/2020/06/03/rubber-bullets-less-lethal-
weapons-can-kill-but-still-used/3134019001/.


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dangerous,” said Dr. Douglas Lazzaro, a professor and expert in eye trauma at NYU Langone

Health.

          50.      Now lawmakers in Texas and nationwide are calling for a ban on this “less lethal

ammunition.” Texas State Representative Erin Zwiener said: “We have people in critical

condition at the hospital....... Even if these aren’t as life-ending as often, they’re certainly life-

altering. And I’m not seeing these weapons used with the judiciousness and respect for life that a

weapon of the kind requires.”48

D.        The City’s actual policy is to use KIPs and other “less lethal” force in a deadly
          manner, as long as officers feel it is necessary to disperse protesters—even if it
          violates the City’s own written polices and the Constitution.

          51.      In response to a Public Information Act request for purchase orders of “rubber

bullets,” the Dallas Police Department produced a purchase order for these 40mm eXact iMpact

extended range “sponge” bullets. This further indicates that the Dallas PD refers to “sponge”

bullets as “rubber” bullets.

          52.      Incredibly, the City of Dallas has no apparent written policy whatsoever on the

use of these sponge bullet KIPs, even though the Dallas PD has been purchasing them since at

least 2013. And officers have shown time and time again that they have never been properly

trained—if at all—on when and how the use of these weapons is permitted by the United States

Constitution. Yet police in Dallas continue to use these extreme, deadly weapons against passive

protestors never posing the immediate risk of serious harm the Constitution requires before

officers may consider using deadly force.



48
  Nic Garcia, Texas police deployed less-lethal ammunition to control protests. Now policymakers want to ban the weapons,
DALLASNEWS.COM (June 9, 2020 11:13am), https://www.dallasnews.com/news/2020/06/09/texas-police-
deployed-less-lethal-ammunition-to-control-protests-now-policymakers-want-to-ban-the-weapons/.


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         53.      This week’s egregious abuses are by no means the first time the City of Dallas and

Chief Hall have discovered—and then ratified—officers' use of “less lethal” ammunition against

peaceful protesters. After Dallas Police used Pepper Balls on a non-threatening crowd in the

September 2018 protests following Botham Jean’s murder by officer Amber Guyger, it became

evident that the City knew its officers violated written policies on the use of “less lethal” force

and were untrained in the proper use of those weapons for crowd control.

         54.      Like recent events, none of the Botham Jean-related protestors were threatening

any physical violence or property damage when they were shot with Pepper Balls—a direct

violation of the DPD’s General Orders prohibiting officers from using Pepper Balls unless the

crowd was “threatening unlawful property damage or physical force.” Indeed, Chief Hall

admitted that she was concerned when she learned police fired the ammunition with no

“immediate threat to the public” to justify their use under the General Orders. “The day after

the protest, one of many after Jean’s Sept. 6 death, Police Chief U. Renee Hall called for a review

of the pepper-ball incident.”49 In a written statement, Chief Hall admitted she had knowledge of

the excessive force: “I am concerned to learn of reports that one of our officers deployed

potentially several pepper balls during a demonstration last night. I have asked our investigative

unit to conduct a full review. The use of pepper balls is governed by our General Orders, and they

are only to be utilized if instructed to do so by the on-scene commander or if there is an




49
  Cassandra Jaramillo, Dallas officer’s pepper-ball use during Botham Jean protest deemed ‘consistent’ with policy,
DALLASNEWS.COM (Dec 28, 2018 6:00 a.m.), https://www.dallasnews.com/news/2018/12/28/dallas-officers-
pepper-ball-use-during-botham-jean-protest-deemed-consistent-with-policy/.


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immediate threat to the public. I plan to meet directly with the leadership of the demonstration to

address their concerns.”50

         55.       But Chief Hall took no action against the officers and instead reinforced the

practice, directly resulting in the physical injuries and deprivations of protestors’ constitutional

rights to under the First and Fourth Amendments protestors continue to face in current ongoing

protests.51

         56.       In fact, the General Orders governing the use of Pepper Balls at the time stated

that Pepper Balls “[m]ay be used as saturation to disperse unruly or rioting crowds threatening

unlawful property damage or physical force.” The orders further state that “[t]he Pepper Ball

System Area Saturation will not be used on subjects who are passively resisting or who are not

posing a physical threat to persons/property to include persons fleeing the scene.”

         57.       None of the officers involved or Chief Hall ever suggested the protesters were

threatening unlawful property damage or physical force, or that they ever did more than passively

resist, as the policy required. The only stated reason for shooting Pepper Balls at the crowd was

“to keep protesters back” as the crowd turned onto Cadiz Street headed for the Dallas Police

Association office.52

         58.       Nevertheless, the preliminary report of the incident review concluded that the use

of the Pepper Ball gun “was ‘consistent’ with the department’s general orders.”53 The report

also found that the officer seen on video firing the ammunition was not certified to use the gun at


50
   Mo Barnes, Dallas PD’s violent response to peaceful protests in Botham Jean shooting (Sept. 12, 2018),
https://rollingout.com/2018/09/12/dallas-pds-violent-response-to-peaceful-protests-in-botham-jean-shooting/.
51
   Cassandra Jaramillo, Chief orders review after Dallas cop caught on video shooting pepper balls at Botham Jean protest,
DALLASNEWS.COM (Sept. 11, 2018, 3:00 p.m.), https://www.dallasnews.com/news/crime/2018/09/11/chief-
orders-review-after-dallas-cop-caught-on-video-shooting-pepper-balls-at-botham-jean-protest/#.
52
   Jaramillo (Dec. 28, 2018), supra, note 48.
53
   Id.


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the time, and that his “certification on the gun had been expired for a year.”54 And, although

Hall did not know the day after the incident whether the officer was instructed to use the weapon

by the on-scene commander, the report found that a sergeant had instructed officers “to deny the

crowd access to Cadiz Street.”55 Ultimately, "the incident was treated as minor by the

department.”56

         59.   By approving of the use of Pepper Balls against a crowd that did no more than

passively resist—let alone threaten to damage any property or use physical force—the City

ratified the use of “less lethal” ammunition that directly violated the General Orders. The Jean

incident showed not only that officers not qualified to use less lethal ammunition are instructed

to do so anyway, but that even when that unqualified officer predictably uses the weapon in a way

that plainly violates written City policy, City officials simply deny that the policy says what it

says. And, even though the Jean incident made it plain that officers were in need of training to

use these “less lethal” guns for crowd control only in way actually “consistent” with the City’s

policies, the City has never given officers training on the matter. Regardless of what the City’s

written policy says, therefore, the City’s de facto policy allows police to use “less lethal”

ammunition against a crowd of non-threatening protestors.

         60.   Despite knowing that officers were not trained to follow the City’s written policies

on the Pepper Ball System, and having ratified the custom of using such extreme force against

non-threatening protestors as official policy, the City of Dallas still chose to purchase and arm

officers with another form of “less lethal” ammunition without enacting any general order to



54
   Id.
55
   Id.
56
   Id.


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ensure the constitutional use of the weapon, or even provide officers any training in how to do so.

The City of Dallas has an established pattern and practice of using excessive, potentially lethal

force to disperse non-violent peaceful protestors in Dallas.

       61.     The City and Chief Hall knew from the Jean protests that officers were not trained

on the proper use of “less lethal” PepperBall KIPs for crowd control when the City contracted to

use “sponge rounds.” But instead of training officers accordingly, the City added another “less

lethal” KIP to officers’ arsenal. Even though the “sponge” bullets are even more harmful than

PepperBalls, the City ignored the increased danger they pose citizens by providing officers no

additional training on how to use the sponge bullets. And never since 2013, when the City

purchased the sponge bullets, has the City or Chief Hall established a general order or written

policy specific to the more dangerous weapon.

       62.     The City can hardly be surprised that when groups gathered again in Dallas to

protest yet another police killing of a non-resisting, unarmed black civilian, George Floyd, Dallas

police officers would again use “less lethal” munitions to control the crowd—ignoring, as it had

before, whether the crowd posed any threat of harm, let alone an immediate threat of serious

harm to persons. When Dallas Police used these projectiles against Ms. Cleveland and others on

May 31, 2020 and when Dallas Police trapped other protestors and the hundreds of protesters on

the Bridge on June 1, the crowd police fired directly into—like crowd in the Jean incident—did

not riot and never threatened property damage or physical force, as journalists on the scene and

video footage of the events confirm.

       63.     This time, however, the weapons Dallas Police are using to control the non-

threatening crowd of protestors are more lethal than claimed. And this time, protestors not only

knelt and raised their hands, they were retreating. Some protesters even turned their backs and

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began running away from the advancing officers. Still, police stalked protesters down throughout

downtown and again shot KIPs directly at protesters, without provocation. Officers purported to

act for the protection of its citizens did just the opposite.

        64.      Again, when faced with plain instances of Dallas Police violating the constitutional

limits of force and the City’s own written policies, the City and Chief Hall have encouraged and

defended the practice, deterring protesters from attending future protests. In doing so, the City

and Chief Hall reaffirmed the City’s official unwritten policy and practice of using excessive,

potentially deadly, force against non-threatening, peaceful protesters as a means of intimidation

and control.

        65.      Predictably, peaceful protestors, journalists, and bystanders have suffered serious

injuries from the use of “less lethal” KIPs, tear gas, smoke bombs, and other riot control devices

designed to quell their exercise of First Amendment rights.

E.      Under pressure from continual public outcry amid the ongoing 2020 Protests in
        Dallas and nationwide, officials refuse to acknowledge failures.

        66.      Chief Hall recently confirmed what so many citizens and plaintiffs have known:

The City’s current use of force policies are insufficient to “address challenges between law

enforcement and communities of color.”57 Public outrage over the June 1 Bridge incident has




57
  Dallas Police Chief Renee Hall Lays Out Plan to Build Trust, Address Use of Force and Racial Bias, WBAP.COM (June
8, 2020), https://www.wbap.com/2020/06/08/dallas-police-chief-renee-hall-lays-out-plan-to-build-trust-address-
use-of-force-and-racial-bias/.


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prompted Dallas residents to demand Chief Hall’s resignation.58 As Chief Hall explained, when

Mayor Eric Johnson asked her “Where would you say the buck stops in the Dallas Police

Department?” Hall replied: “It stops with me.”59 Chief Hall has not recanted her statement

defending officers’ actions at the Bridge under the guise of “protect[ing] protesters from

vehicular injury on a roadway still open to traffic.”60 Tellingly, after arresting protestors on the

Bridge (purportedly for obstructing a highway or for violating the curfew ordinance; protesters

were not clear why they were being arrested), Chief Hall dropped charges—but only after

demonstrators were successfully intimidated and deterred from exercising their First

Amendment rights.

         67.      In what has been called “the worst city council meeting Dallas has witnessed in a

decade,” Dallas Mayor Eric Johnson grilled Chief Hall about the incident on the bridge and

challenging her claim that officers did not tear gas in question.61 “Hall said tear gas was not fired,

that it was smoke. She said she ordered the SWAT team to not fire tear gas. Mayor Johnson then

wanted to know the chemical breakdown in the smoke. She could not say. Councilman Adam

Medrano said he believed the chief's order to not fire tear gas was disobeyed, because the




58
   Hady Mawajdeh, Public Anger At Dallas Meeting Focuses On Police Tactics At Margaret Hunt Hill Bridge Protest,
KERANEWS.ORG (June 7, 2020), https://www.keranews.org/post/public-anger-dallas-meeting-focuses-police-
tactics-margaret-hunt-hill-bridge-protest?fbclid=IwAR0w_cAsern_R59r0bYtehSXJUF-
mN9vJv8ry1cqQBecMrEyR1pU1UCfABc.
59
   Demond Fernandez, Dallas City Council convenes in special meeting to discuss response to protests, DALLAS BUSINESS
JOURNAL & WFAA (June 6, 2020), available at https://www.bizjournals.com/dallas/news/2020/06/06/dallas-city-
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60
   Cassandra Jaramillo & Hayat Norimine, Dallas Police Chief Reneé Hall says protesters who marched on Margaret Hunt
Hill Bridge will not be charged, DALLASNEWS.COM (June 4, 2020, at 7:11 p.m.),
https://www.dallasnews.com/news/courts/2020/06/04/dallas-police-chief-renee-hall-says-protesters-who-
marched-on-margaret-hunt-hill-bridge-will-not-be-charged/
61
   Matt Goodman, The Worst City Council Meeting Dallas Has Witnessed in a Decade, DMAGAZINE.COM (June 6, 2020
12:33 p.m.), https://www.dmagazine.com/frontburner/2020/06/the-worst-city-council-meeting-dallas-has-
witnessed-in-a-decade/.


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reactions of those on the bridge was so violent. He demanded that she determine who violated

her order.”62

         68.      Across America, cities are announcing plans to consider significant changes in

police protocol and, indeed, whether to limit the extent and funding of police departments as a

whole. Indeed, city councils and mayors of major cities like Minneapolis, Los Angeles, and New

York City have committed to reducing—or even defunding entirely—their police departments.63

“A growing number of people suffering serious injuries in Dallas, Austin and across the nation

from plastic, rubber and wooden bullets are raising new questions about how and when police

officers use these weapon.”64 Then on June 9, Austin’s police chief “banned the use of these

weapons for crowd control purposes after a 20-year-old black man, a Latino teenager and a

pregnant woman were critically injured.”65

         69.      Under this constant pressure, Chief Hall announced on Thursday, June 4, 2020,

that Chief Hall “had instituted a new general order compelling members of the department —

both sworn and non-sworn—'to either stop, or attempt to stop, another employee when force is

being inappropriately applied or is no longer required.’”66 Then on Monday, June 8, Chief Hall

officially banned chokeholds and “said next week the Dallas Police Department will institute a




62
   Id.
63
   Danielle Wallace, These cities have begun defunding police in the wake of George Floyd protests, FOXNEWS.COM (June 8,
2020), https://www.foxnews.com/us/defund-police-george-floyd-protest-reforms-new-york-los-angeles-
minneapolis.
64
   Garcia, supra, note 46.
65
   Id.
66
   Hayat Norimine, Dallas’ Chief Hall implements ‘duty to intervene’ policy after calls for greater police accountability,
DALLASNEWS.COM (June 5, 2020 1:04 a.m.), https://www.dallasnews.com/news/crime/2020/06/05/dallas-chief-
hall-implements-duty-to-intervene-policy-after-nationwide-calls-for-police-accountability/.


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policy requiring officers to announce warnings before shooting.”67 Then next month, Chief Hall

says the Dallas PD will institute a policy requiring police to announce warnings before shooting,

“to release more dash cam and body cam videos as well as order a review all use of force

policies.” Id. Yet the City and Chief Hall have announced no plans to enact policies that address

the use of KIPs and other riot control devices as “crowd control”—or to review whether they

can be used at all in a safe constitutional manner. And Chief Hall has intentionally failed to

identify the officers responsible for causing Plaintiffs’ injuries.

                                     VII.     CAUSES OF ACTION

                           Count 1: Civil Rights Claim (42 USC § 1983)
                              Violation of First Amendment Rights
                                  Against the City of Dallas and
                     John Doe Police Officers 1-50 in their individual capacities

        70.      Plaintiff by reference incorporate and reallege all of the preceding paragraphs as

though fully stated herein.

        71.      Plaintiff engaged in constitutionally protected acts of observing, recording, or

participating in events of public interest, including public demonstrations and in expressing their

political views. Plaintiffs will continue to do so in the future.

        72.      In 2018, Chief Hall admitted that she knew “less lethal” ammunition was being

used against peaceful protestors who were not threatening to commit property damage or

physical violence but encouraged and defended the practice because it dispersed the crowds.

        73.      The actions of John Doe Police officers 1-50—namely, the suppression of a

peaceful demonstration and the viewpoint it represented—and the actions of Chief Hall in


67
  J.D. Miles, Dallas Police Chief Renee Hall Lays Out More Policies Addressing Use Of Force, Racial Bias,
CBSLOCAL.COM (June 8, 2020, 3:35 p.m.), https://dfw.cbslocal.com/2020/06/08/dallas-police-chief-renee-hall-
policies-use-force-racial-bias/.


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ordering such suppression, deprived Plaintiff of her rights under the First Amendment to the

United States Constitution to freedom of speech, freedom of press, freedom of assembly, and

freedom to petition the government for a redress of grievances. Defendants deliberately violated

well-established limitations on the exercise of speech and assembly in public places.

        74.     Defendants retaliated against Plaintiff for engaging in constitutionally protected

activity and for the content and viewpoint of her expressions. Defendants’ retaliation is part of a

pattern or practice of unconstitutional conduct that is certain to continue absent any relief.

        75.     Defendants’ violent actions were not a reasonable regulation of the time, place, or

manner of Plaintiffs’ First Amendment protected activity. These actions were not justified by a

compelling—or even substantial—government interest justifying the infringement of Plaintiff’s

First Amendment rights. Even assuming, arguendo, that there had been a compelling

government interest in protecting against property damage or clearing streets of protestors,

Defendants’ actions toward Plaintiff and the groups of protesters were not narrowly tailored to

serve that government interest in a lawful manner.

        76.     Plaintiff reasonably fear the continued indiscriminate use of KIPs and

deployment of chemical agents without warning. Plaintiff further reasonably fear unlawful

seizure and excessive force through the firing of flash bang grenades, KIPs and other projectiles,

and other means if Plaintiff and protesters continue to engage in constitutionally protected

activity.

        77.     These acts would chill a reasonable person from continuing to engage in a

constitutionally protected activity. These acts did, in fact, chill Plaintiff from continuing to

observe and record some events of public interest and to participate in peaceful protests.




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Defendants acted with reckless or callous indifference to the federally protected rights of

Plaintiff.

        78.     It was the City of Dallas’ custom and policy, as well as the City of Dallas’ and

Chief Hall’s failure to train and supervise Dallas Police officers and issue corrective instructions

after violations were brought to light, that caused the First Amendment retaliation.

        79.     Defendants’ continued failure to supervise and train Dallas Police officers with

respect to the First Amendment rights of Plaintiffs amounts to deliberate indifference to the

rights of Plaintiffs.

        80.     The pattern of similar constitutional violations against Plaintiff and other

protesters that occurred during the 2018 and 2020 protests demonstrates the deliberate

indifference of the Defendants to the rights of Plaintiff and other protesters.

        81.     Further, given the multiple constitutional violations documented above, the need

for more supervision or training was so obvious, and the inadequacy of the training and

supervision so likely to result in the violation of constitutional rights, that Defendants

demonstrated their deliberate indifference to the need for such training and supervision.

        82.     Plaintiff’s First Amendment rights were violated when she was deliberately

targeted and shot with KIPs, tear gas, flashbang grenades, and smoke during the course of her

protest activities.

        83.     Plaintiff reasonably fear further retaliation in the future if they continue to

observe, record, or participate in constitutionally protected activity.

        84.     Defendants intentionally and with reckless disregard caused the injury of Plaintiff

by means of John Does’ use of physical force to suppress free speech, which was instructed




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and/or authorized by Chief Hall. These actions or omissions were the direct result of the City of

Dallas’ written and unwritten policies.

       85.     As a direct and proximate result of the acts and omissions of Defendants set forth

above, Plaintiff was deprived of her First Amendment rights to freedom of speech, freedom of

press, freedom of assembly, and freedom to petition the government for a redress of grievances.

Plaintiff’s First Amendment rights were further chilled, and Plaintiff suffered injuries and

damages.

                          Count 2: Civil Rights Claim (42 U.S.C. § 1983)
                                         Excessive Force
                      Violation of Fourth and Fourteenth Amendment Rights
                                 Against the City of Dallas and
                    John Doe Police Officers 1-50 in their individual capacities

       86.     Plaintiff incorporates by reference and reallege all of the preceding paragraphs as

though fully stated herein.

       87.     At all times alleged herein, Defendants John Doe Police officers 1-50 were sworn

police officers with the Dallas City Police Department and acting under color of law.

       88.     At all relevant times alleged herein, no citizen, officer, or bystander was in

imminent fear for their life or in fear of the Plaintiff causing them serious bodily injury.

       89.     At all relevant times alleged herein, Plaintiff never threatened to harm any

property.

       90.     At all relevant times, Plaintiff possessed the right to be free from excessive force.

       91.     Chief Hall instituted a policy and practice of using excessive force against non-

threatening, peaceful protesters as a means of intimidation and control.




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       92.     John Doe Police Officers 1-50 used objectively unreasonable force when Plaintiff

did not pose an imminent threat of death or serious bodily injury to the Defendants or any other

person during the relevant time alleged herein.

       93.     John Doe Police Officers 1-50 further used objectively unreasonable force when

Plaintiff did not pose any threat of harm to property during the relevant time alleged herein.

       94.     Several officers on the bridge did not use any force at all because it was

unreasonable and unjustified. This further demonstrates that Defendant John Does 1-50’s use of

force was objectively unreasonable.

       95.     It is clearly established law that using physical force such as KIPs—including

rubber, sponge, or pepper bullets—against a non-threatening individual is unreasonable and

violates the Fourth Amendment right to be secure in their person. And, given the gross disparity

between the need for force and the level of pain and injury inflicted, the officers’ use of force was

malicious and sadistic.

       96.     John Doe Police Officers 1-50 did not need to fire KIPs at a non-threatening

peaceful crowd. Moreover, the use of KIPs bullets was unwarranted and excessive to the

articulated need of dispersing protesters from the downtown Dallas area and excessive to the

purported need of effectuating arrest.

       97.     Likewise, Defendants’ use of force was inappropriate and unwarranted as a use of

crowd control for peaceful, non-threating participants in protests, in violation of the Plaintiff’s

Fourteenth Amendment rights to due process.

       98.     The excessive force used by John Doe Police Officers 1-50 is the direct result of

the City of Dallas’ de facto unwritten policy allows police to use “less lethal”—but not




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“nonlethal”—ammunition and devices against a crowd, including against protesters who are not

immediately threatening serious physical injury. The City of Dallas knew since at least the 2018

protests following Botham Jean’s death of the obvious risk that KIPs would cause the type of

physical and constitutional injuries that Plaintiffs have suffered. And the City of Dallas has used

sponge/rubber bullet KIPs since at least 2013. Yet the City has never developed any written or

unwritten policy regarding the constitutional use of the KIPs and, thus, it was highly predictable

that Dallas Police officers would continue to violate protesters’, bystanders’, journalists’, and

citizens’ (like Plaintiff) constitutional rights using sponge/rubber and other KIPs. Accordingly,

the City of Dallas and Chief Hall have been deliberately indifferent to the complete lack of

training, or completely inadequate training, they have given Dallas Police officers on these “less

lethal” forms of ammunition.

       99.     The written and unwritten policies of the Defendant the City of Dallas, therefore,

are the moving forces behind Plaintiff’s constitutional violations inflicted through the excessive

force of John Doe Police Officers 1-50.

       100.    As a direct and proximate cause of Defendants’ use of excessive force, Plaintiff

suffered and continue to suffer severe injuries including, but not limited to, emotional distress

and physical pain and suffering.

                        Count 3: Civil Rights Claim (42 U.S.C. § 1983)
                                      Unlawful Seizure
                            Violation of Fourth Amendment Rights
                                 Against the City of Dallas
                 and John Doe Police Officers 1-50 in their individual capacities

       101.    Plaintiffs incorporate by reference and reallege all of the preceding paragraphs as

though fully stated herein.




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         102.   Plaintiff was seized by Defendants when Dallas Police officers willfully, through

the use of force and threat of arrest, chemical agents, KIPs and other projectiles, and other riot

control tactics, terminated Plaintiff’s freedom of movement.

         103.   Defendants committed these acts without forewarning or justification and, as a

result, Defendants’ acts were objectively unreasonable and constituted unlawful seizure and

excessive force.

         104.   At all times relevant, Plaintiff did not commit a crime.

         105.   At all times relevant, Plaintiff did not pose a threat to any of Defendants’ officers

or agents, to Plaintiff themselves, or to any other person.

         106.   It was the City of Dallas’ custom and policy, as well as the City of Dallas’ and

Chief Hall’s failure to train, supervise, and discipline its officers or issue corrective instructions

after violations were brought to light, that caused the unlawful seizures and excessive use of

force.

         107.   Plaintiff’s Fourth Amendment rights were violated when she was deliberately

targeted and shot with KIPs, tear gas, flashbang grenades, and pepper spray during the course of

Plaintiff’s lawful protests and presence at the protests. Because Dallas Police officers actively

threatened Plaintiff with these “less lethal” weapons throughout their encounters with Dallas

Police, Plaintiff was not free to leave without such physical force being used against her.

         108.   Plaintiff reasonably fear further retaliation in the future in violation of the Fourth

Amendment if she continue to observe, record, or participate in constitutionally protected

activity.




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        109.      It is the pattern and practice of the City of Dallas and Chief Hall to arrest but not

charge protesters as a means to suppress First Amendment rights. As explained above, it is also

the City of Dallas’ de facto unwritten policy for police to use “less lethal”—but not

“nonlethal”—ammunition and devices against a crowd, including against protesters who are not

immediately threatening serious physical injury.

        110.      These written and unwritten policies of the Defendant the City of Dallas,

therefore, are the moving forces behind Plaintiff’s unconstitutional seizure in violation of her

Fourth Amendment rights.

        111.      As a direct and proximate result of Defendants’ acts and omissions as stated

above, Plaintiff was deprived of her Fourth Amendment rights and suffered injuries and

damages.

                            Count 4: Civil Rights Claim (42 U.S.C. § 1983)
                                    Failure to Supervise & Discipline
                        Violation of Fourth and Fourteenth Amendment Rights
               Against the City of Dallas and Chief Reneé Hall in her individual capacity

        112.      Plaintiff incorporate by reference and reallege all of the preceding paragraphs as

though fully stated herein.

        113.      The City of Dallas and Chief Hall are directly responsible for supervising police

officers in the use of physical and lethal force and for disciplining police officers for using force

that violates City policies or the Unites States Constitution.

        114.      The City of Dallas and Chief Hall knew at least as early as 2018 that Dallas Police

officers were using KIPs like Pepper Balls as a means of crowd control for non-threatening

protestors in violation of the General Orders of the Dallas Police and the United States

Constitution. But the City of Dallas and Chief Hall deliberately chose not to supervise Dallas



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Police officers to ensure they were only using KIPs within the constitutional limits on the use of

force. The City of Dallas and Chief Hall also failed to discipline officers who used KIPs against

non-threatening protesters or to discipline officers who used KIPs in a manner that violated the

General Orders and the Constitution. Instead, Chief Hall further authorized the unsafe use of

KIPs and authorized the further use of the ammunition to peaceful, non-threatening, protestors,

as a means of crowd control and to deter the exercise of Plaintiff’s First Amendment rights. This

constituted deliberate indifference toward the outrageous and reckless use of force.

       115.    The City of Dallas and Chief Hall also knew of the risks associated with the 40

mm eXact iMpact extended range sponge round, including certain incapacitation, or significant

injury. But the City of Dallas and Chief Hall also failed to take disciplinary action in response to

the unlawful use of KIPs against non-threatening crowds protesting the death of George Floyd in

2020. The City of Dallas and Chief Hall also failed to take disciplinary action in response to

officers using KIPs for crowd control in an unlawful manner that was likely to cause serious

injuries and, possibly, death.

       116.    Although the City of Dallas has used sponge and/or rubber bullet KIPs since at

least 2013 and the City issued General Orders for less lethal Pepper Ball KIPs by 2016 at the

latest, the City and Chief Hall have never issued General Orders regarding sponge and/or rubber

bullet KIPs. Likewise, Chief Hall and the City of Dallas ratified the use of Pepper Ball KIPs

against non-threatening protestors in violation of those General Orders. Accordingly, given that

Chief Hall did not discipline or supervise police officers who used sponge and/or rubber bullet

KIPs against Plaintiff and other non-threatening protesters, it is reasonable to infer that in the




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eyes of the City of Dallas and Chief Hall, the officers’ illegal conduct actually conformed with

City policy.

        117.      These written and unwritten policies of the Defendant the City of Dallas in failing

to supervise or discipline the Dallas Police officers are, therefore, the moving forces behind the

violations of Plaintiffs’ Fourth and Fourteenth Amendment rights.

        118.      As a direct and proximate result of Defendants’ acts and omissions as stated

above, Plaintiff was deprived of her Fourth and Fourteenth Amendment rights and suffered

injuries and damages.

                          COUNT 5: CIVIL RIGHTS CLAIM (42 U.S.C. § 1983)
                                           FAILURE TO TRAIN
                       Violation of Fourth and Fourteenth Amendment Rights
               Against the City of Dallas and Chief Reneé Hall in her individual capacity
        119.      Plaintiff incorporate by reference and reallege all of the preceding paragraphs as

though fully stated herein.

        120.      The City of Dallas and Chief Hall are directly responsible for training on the use

of firearms with regard to lethal and allegedly less lethal impact weapons, the manner of use,

distance of use, and use of force continuum.

        121.      Chief Hall had direct supervisory and policymaking responsibilities for police

officers in the use of physical and lethal force.

        122.      Defendant Hall knew of the risks associated with the 40 mm eXact iMpact

extended range sponge round but failed to institute any training with regard to the range and risks

of certain incapacitation, or significant injury.

        123.      Defendant Hall and the City of Dallas knew that as of 2018, the Dallas Police

Department officers were using KIPs like Pepper Balls as a means of crowd control for non-



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threatening protestors in violation of the General Orders of the Dallas Police and the United

States Constitution. But Chief Hall deliberately chose not to train the Dallas Police officers

regarding the threat level necessary to justify using the Pepper Ball System or other KIPs against

a crowd within the constitutional limits on the use of force. Instead, Chief Hall further authorized

its use and authorized the further use of such ammunition toward peaceful, non-threatening

protestors as a means of crowd control and to deter the exercise of Plaintiff’s First Amendment

rights. This constituted deliberate indifference and outrageous and reckless use of force.

       124.    The City of Dallas and Chief Hall also knew of the risks associated with the 40

mm eXact iMpact extended range sponge round, including certain incapacitation, or significant

injury. But the City of Dallas and Chief Hall also failed to train officers in the threat level

necessary to justify using the sponge bullet KIPs against crowds within the constitutional limits

on the use of force. The City of Dallas and Chief Hall also failed to train officers to use KIPs in

manners unlikely to cause serious injuries and death.

       125.    Even after the abuses of Pepper Ball KIPs in 2018, Chief Hall and the City of

Dallas ratified the use of Pepper Ball KIPs against non-threatening protestors in violation of

applicable General Orders and the Constitution. The City of Dallas and Chief Hall knew or

should known that that approach has failed to prevent tortious conduct by Dallas Police officers.

The City of Dallas and Chief Hall’s continued adherence to approving of using KIPs in violation

of the General Orders and the Constitution demonstrates the conscious disregard the City of

Dallas and Chief Hall have for the consequences of their actions.

       126.    Large-scale protests against police brutality have taken place in Dallas with

increasing regularity. And each time Dallas Police officers are on the scene at such protests, they




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come clad in riot gear and armed with riot control devices, and often travel in armored vehicles.

Repeatedly since protests began in Dallas on May 29, 2020, Dallas Police officers have used

KIPs, tear gas, flash-bang grenades, and other riot control devises against protestors who are not

threatening, thereby violating the protesters’ constitutional rights.

       127.    The need for training officers in how to use KIPs lawfully in these recurring

situations—particularly where no training has been provided—could hardly have been more

obvious to the City of Dallas or Chief Hall since at least the unlawful use of KIPs against crowds

in the 2018 protests following Botham Jean’s death. Absent such training, it was highly

predictable that Dallas Police officers would continue to violate protesters’ constitutional rights.

Accordingly, the City of Dallas and Chief Hall have been deliberately indifferent to the complete

lack of training, or completely inadequate training, they have given Dallas Police officers.

       128.    These written and unwritten policies of the Defendant the City of Dallas in failing

to train the Dallas Police officers, therefore, are the moving forces behind the violations of

Plaintiff’s Fourth and Fourteenth Amendment rights.

       129.    As a direct and proximate result of Defendants’ acts and omissions as stated

above, Plaintiff was deprived of her Fourth and Fourteenth Amendment rights and suffered

injuries and damages.

                      COUNT 6: PERMANENT INJUNCTIVE RELIEF
         Against the City of Dallas and John Doe Police Officers 1-50 in their individual
                                           capacities


       130.    Plaintiff reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       131.    Additionally, and in the alternative, Plaintiff is entitled to permanent injunctive

relief against Defendants.
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        132.   Plaintiff has suffered irreparable injury as a result of Defendant’s conduct, and

the failure to grant permanent injunctive relief will result in further irreparable injury. The loss

of constitutional rights constitute irreparable harm, particularly where the First Amendment is

concerned. Loss of First Amendment freedoms—even for minimal periods of time—

constitutes irreparable injury. As demonstrated herein, the actions of DPD officers, authorized

and directed by the City of Dallas, the Dallas City Council and Former Chief Hall, have had

the effect of blocking demonstrators, bystanders, and press from fully exercising their First

Amendment rights. Additionally, Defendants’ actions chill Plaintiff’s prospective exercise of

her rights.

        133.   Defendants’ tactics also caused and continue to cause irreparable harm under

the Fourth Amendment. It is well-established that using deadly force against a person who

does not pose an immediate threat of serious harm violates the person’s Fourth Amendment

right to be free from excessive force. Firing weapons that—although allegedly “less lethel”

than firearm rounds—are nonetheless still lethal constitutes excessive force when used against

people who pose no immediate threat of serious harm at the time. Plaintiff and other

protestors, bystanders, and press will continue to face excessive deadly force unless the City of

Dallas and Dallas PD officers are enjoined from using such weapons against people who pose

no immediate threat of serious harm at the time.

        134.   Plaintiff is likely to succeed on the merits of her First and Fourth Amendment

claims. The City’s authorization of use of less-lethal weapons to control and suppress has

chilled and is chilling Plaintiff’s right to assemble, petition for redress of grievances, freedom

of speech, and freedom of the press, and constitutes retaliation in violation of the First

Amendment. The United States Supreme Court has upheld preliminary injunctions based on


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the First Amendment where police action chills people from exercising their First Amendment

rights. The City’s policies and practices have been overbroad and underinclusive: rather than

focus on arresting, the DPD has hurled canisters of tear gas and smoke at entire crowds of

peaceful protestors and indiscriminately fired KIP guns at individual protestors not involved in

any conduct that posed an immediate threat of serious harm at the time. The use of such

excessively deadly force is not “narrowly tailored” and necessary for keeping roadways clear

or for preventing property destruction—neither of which are compelling. Thus, the DPD’s

policies and practices do not survive strict scrutiny. Further, since the DPD’s force is directed

squarely at suppressing free expression—and restricts First Amendment freedoms far more

than necessary to prevent an immediate threat of serious harm at the time—the policies and

practices also fail intermediate scrutiny. The City’s actions also violate the Fourth Amendment

prohibition on excessive force, and the First Amendment rights at stake strengthen that claim.

The City’s authorization of the use of allegedly “less lethal” weapons against protestors,

bystanders, and press as a means of “crowd control,” absent any imminent threat of serious

harm to anyone, is inherently excessive, and violates the Fourth Amendment.

       135.    Remedies available at law are inadequate to fully compensate for Plaintiff’s

injuries because the loss of her First and Fourth Amendment constitutional rights constitutes

an irreparable harm. Furthermore, permanent injunctive relief is necessary to ensure that future

harm is not inflicted on Plaintiff and others seeking to exercise their constitutional rights in

Dallas. Without permanent injunctive relief to prevent Defendants from using these tactics on

crowds or people not posing an immediate threat of serious harm at the time in the future,

Plaintiff and others similarly situated will be chilled from exercising their constitutional rights

and could potentially incur additional physical injuries caused by the Defendants.


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       136.    Considering the balance of hardships between Plaintiff and Defendants, a

remedy in equity is warranted here. Plaintiff’s injuries and the likelihood of future injuries to

Plaintiff and other peaceful protestors similarly situated outweigh any damage that the

injunction will cause Defendants. Dallas PD’s and John Doe Officers 1-50’s use of allegedly

“less lethal” devices to control crowds during protests harms not just the Plaintiff in this

lawsuit but many similarly situated people seeking to exercise their First Amendment rights,

including members of the press. Rather than develop a narrowly tailored policy to deal with

the scarce few disruptive protestors, the City has chosen an overbroad one: punish all

protestors (as well as the press who cover their demonstrations and bystanders who may be

nearby) with chemical weapons such as tear gas, smoke bombs, flashbangs, Pepper Balls,

mace, and KIPs such as rubber, sponge, and foam bullets—among other riot-control weapons

and techniques—rather than specifically deal with any individual persons who pose an

immediate threat of serious harm at the time. Whatever interest the City might have in

preventing property destruction or keeping roadways safe does not and cannot justify

continuing to deploy lethal weapons against peaceful protestors. Moreover, an injunction is in

the public interest because public health officials have made clear that the use of chemical

agents—such as tear gas, smoke bombs, Pepper Balls, and mace—poses a significant risk of

spreading and exacerbating the ongoing COVID-19 pandemic. Finally, Defendants the City of

Dallas and then-Chief Hall both agreed to the entry of this Court’s June 11, 2020 Agreed

Preliminary Injunction, indicating that the balance of hardships here does, in fact, weigh in

favor of Plaintiff’s request for permanent injunctive relief.

       137.    Finally, permanent injunctive relief would best serve the public interest. It is

always in the public interest to prevent the violation of a party’s constitutional rights. Indeed,


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if Defendants agree that safety is in the public interest, then it is reasonable to conclude that it

is in the public interest to keep protestors, bystanders, and press safe from DPD officers using

lethal force against them under the guise of keeping roads and property safe. Accordingly,

granting this temporary restraining order is undeniably in the public’s interest. Because the

City has pursued and continues to pursue a policy of excessive force against peaceful

protestors in violation of their First and Fourth Amendment rights, Plaintiff request that the

Court issue an order permanently enjoining the indiscriminate use of this “less lethal” force on

people who pose no immediate threat of serious harm at the time.

        138.     Accordingly, Plaintiff seek permanent injunctive relief to prohibit Defendant

City of Dallas, Defendant John Doe Police Officers 1-50, and all officers of the Dallas Police

Department from:

               • using “less lethal” weapons, such as tear gas, smoke bombs, flashbangs,
                 pepperballs, mace, and other chemical agents in connection with protests: (a)
                 against any protestors, bystanders, civilians, or members of the press, who are
                 not posing any immediate threat of serious harm to anyone, or (b) using such
                 devices or chemical agents for purposes of controlling peaceful crowds; and

               • firing or deploying kinetic impact projectiles into a crowd for any purpose.


                                         VIII. DAMAGES

        139.     Plaintiff reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

        140.     In whole or in part, as a result of some or all of the above actions or omissions of

Defendants, Plaintiff has and continue to suffer irreparable harm as a result of these violations.

As a direct and proximate result of Defendants’ actions and omissions, Plaintiff has suffered




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and will continue to suffer severe pain of mind and body, emotional dress, physical

manifestations of emotional distress, humiliation, loss of enjoyment of life, disfigurement,

physical impairment, and loss of earnings and earning capacity. As a direct and proximate result

of Defendants’ acts and omissions, Plaintiff was prevented and will continue to be prevented

from participating as activists and peaceful protesters with regard to causes that directly impact

their lives and the lives of their friends, families, and communities. As a direct and proximate

result of Defendants’ actions and omissions, Plaintiff has required and will in the future require

medical treatment, therapy, counseling, and/or hospitalization to address the physical and

mental injuries caused by Defendants’ acts and omissions.

       141.    As a direct and proximate result of Defendants’ actions and omissions, as stated

above, Plaintiff suffered:

       (a) Physical pain and suffering in the past and future;

       (b) Mental anguish in the past and future;

       (c) Medical expenses in the past and future;

       (d) Disfigurement in the past and future;

       (e) Physical impairment in the past and future;

       (f) Lost earnings in the past and future;

       (g) Loss of earning capacity in the past and future.

                               IX.     STATUTORY DAMAGES

       142.    Plaintiff is entitled to compensatory damages and punitive damages pursuant to

42 USC § 1988.




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       143.    As a direct and proximate result of Defendants’ acts and omissions in the

foregoing respects, Plaintiff has been required to retain the services of legal counsel and to

incur attorney’s fees and costs thereby.

       144.    Plaintiff brings this lawsuit pursuant to 42 U.S.C. § 1983. Plaintiff is entitled to

an award of reasonable attorney’s fees. See 42 U.S.C. 1988.

                                X.     PUNITIVE/EXEMPLARY DAMAGES

       145.    Plaintiff reallege and incorporate by reference the allegations contained in the

preceding paragraphs.

       146.    Additionally, and in the alternative, the conduct of Defendants John Doe Police

Officers 1-50 was done with malice and/or a specific intent by Defendants to cause substantial

injury or harm to Plaintiff. As such, Plaintiff requests punitive and exemplary damages to deter

this type of conduct in the future.

       147.    In the alternative, Defendants John Doe Police Officers 1-50’s heedless and

reckless disregard of Plaintiff’s rights, safety, and welfare constitutes more than momentary

thoughtlessness, inadvertence, or misjudgment. Instead, Defendants John Doe Police Officers

1-50 acted with reckless or callous indifference to the federally protected rights, safety, or

welfare of others. Defendants had actual, subjective awareness of the risks of injury or illegality

involved, but nevertheless proceeded with conscious, reckless, or callous indifference to the

rights, safety, or welfare of others, including Plaintiff. Defendant Police Officers 1-50 ordered

Plaintiff to comply—which Plaintiff complied, and Defendant still deployed weapons described

herein against a non-resisting, nonthreatening citizen—causing serious bodily injury to

Plaintiff. Such unconscionable conduct goes beyond ordinary negligence, and as such Plaintiff

request punitive and exemplary damages are awarded against Defendants John Doe Police

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Officers 1-50 in a sum which is within the jurisdictional limits of this court.

                                         XI.    JURY TRIAL DEMANDED

        148.    Plaintiff asserts her rights under the Seventh Amendment to the U.S.

Constitution and demands, in accordance with Federal Rule of Civil Procedure 38, a trial by jury

on all issues so triable.

                                         XII.     PRAYER

        149.    WHEREFORE, Plaintiff request this Court and the finder of fact to enter a

Judgment in Plaintiff’s favor against all named Defendants on all counts and claims as indicated

above in an amount consistent with the proofs of trial, and seeks against Defendants all

appropriate damages arising out of law, equity, and fact for each or all of the above counts where

applicable and hereby requests that the trier of fact, be it judge or jury, award Plaintiff all

applicable damages, including but not limited to compensatory, special, exemplary and/or

punitive damages, in whatever amount Plaintiffs are entitled, and all other relief arising out of

law, equity, and fact, also including but not limited to:

        (a) Compensatory damages in an amount to be determined as fair and just under the

            circumstances, by the trier of fact including, but not limited to pain and suffering,

            medical expenses, loss of earnings and earning capacity, mental anguish, anxiety,

            humiliation, and embarrassment, violation of Plaintiff’s Federal and State rights, loss

            of social pleasure and enjoyment, and other damages to be proved;

        (b) Statutory compensatory damages and punitive damages pursuant to 42 USC § 1988;

        (c) Statutory attorneys’ fees and costs pursuant to 42 USC § 1988;

        (d) Punitive and/or exemplary damages in an amount to be determined as reasonable or

            just by the trier of fact;


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      (e) Reasonable attorney fees, pre-judgment and post-judgment interest, and costs; and

      (f) Other declaratory, equitable, and/or permanent injunctive relief, as appears to be

         reasonable and just.




                                                   Respectfully Submitted,

                                                   By:/s/ Billy Clark
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                                                   Admitted
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                                                   ATTORNEYS FOR PLAINTIFF
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                                  CERTIFICATE OF SERVICE

           Because Plaintiffs are concurrently filing a Motion for Temporary Restraining
     Order, pursuant to the Federal Rules of Civil Procedure, this Court’s Local Rules, and
     agreement of counsel, a true and correct copy of the foregoing Plaintiffs’ Original Complaint
     and Jury Demand was served on the following via email:

           Christopher Caso
           City Attorney
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           Tatia R. Wilson
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           Attorney
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                                                                        /s/ Billy Clark




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